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MINUTE ENTRY
VITTER, J.
DECEMBER 15, 2022
JS10, 0:19
                UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF LOUISIANA

EFENITY MCDONALD                                          CIVIL ACTION

VERSUS                                                    NO. 22-2377

CLB INVESTMENTS, LLC, ET AL.                              SECTION: D (3)

                TELEPHONE STATUS CONFERENCE REPORT

      On December 15, 2022, the Court held a Telephone Status Conference with

counsel for the parties.

      PRESENT:

             Casey Rose Denson & Mercedes Townsend
             Counsel for Plaintiff Efenity McDonald

             George Davidson Fagan
             Counsel for Defendant CLB Investments, LLC

             Nicole Ann Eichberger
             Counsel for Defendants McDonalds Corporation, McDonald’s USA, LLC
             & Bardell Company, Inc

      During the conference, the Court discussed the status of the case with counsel.

The undersigned disclosed that she briefly worked at an unrelated McDonald’s as a

young adult and that she could remain fair and impartial in this matter. The

Scheduling Order (R. Doc. 29) remains in effect.

      New Orleans Louisiana, April 11, 2023.

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                                       WENDY B. VITTER
                                       United States District Judge
